        Case 2:20-cr-00024-SAB           ECF No. 234         filed 06/08/21      PageID.736 Page 1 of 3
 PROB 12C                                                                                  Report Date: June 7, 2021
(6/16)

                                       United States District Court                                      FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                                Jun 08, 2021
                                        Eastern District of Washington
                                                                                                    SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: James Thomas Brown                        Case Number: 0980 2:20CR00024-SAB-3
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Stanley A. Bastian, Chief U.S. District Judge
 Date of Original Sentence: October 20, 2020
 Original Offense:        Passing of Counterfeit Currency, 18 U.S.C. § 472
 Original Sentence:       Probation - 60 months              Type of Supervision: Probation
 Asst. U.S. Attorney:     Richard R. Barker                  Date Supervision Commenced: October 20, 2020
 Defense Attorney:        John Stephen Roberts, Jr           Date Supervision Expires: October 19, 2025

                                          PETITIONING THE COURT

To issue a warrant.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition #5: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: On May 16, 2021, James Brown allegedly violated special condition
                        number 5 by consuming methamphetamine.

                        On October 23, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                        reviewed a copy of the conditions of probation with Mr. Brown, as outlined in the judgment
                        and sentence. He signed a copy acknowledging the requirements.

                        On May 24, 2021, the undersigned officer received notification that the offender submitted
                        to random urinalysis testing at Spokane Addiction Recovery Centers (SPARC) on May 18,
                        2021. According to the information received, the urine sample provided by Mr. Brown on
                        that date was subsequently confirmed by a laboratory to be positive for amphetamine and
                        methamphetamine.

                        On May 26, 2021, this officer spoke with Mr. Brown about the results. He claimed he had
                        only been consuming energy drinks, although the undersigned explained that energy drinks
                        will not cause a positive test result for amphetamine and methamphetamine.
      Case 2:20-cr-00024-SAB       ECF No. 234         filed 06/08/21      PageID.737 Page 2 of 3
Prob12C
Re: Brown, James Thomas
June 7, 2021
Page 2

                  On May 27, 2021, Mr. Brown contacted this officer and apologized for lying the day prior.
                  The offender subsequently admitted to using methamphetamine on or about May 16, 2021,
                  and he signed an admission of use form.
          2       Special Condition #4: You must undergo a substance abuse evaluation and, if indicated by
                  a licensed/certified treatment provider, enter into and successfully complete an approved
                  substance abuse treatment program, which could include inpatient treatment aftercare upon
                  further order of the court. You must contribute to the cost of treatment according to your
                  ability to pay. You must allow full reciprocal disclosure between the supervising officer and
                  treatment provider.

                  Supporting Evidence: James Brown allegedly violated special condition number 4 by
                  failing to report for treatment at SPARC on May 20, 21, 24, 26, and 27, 2021, as scheduled.

                  On October 23, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                  reviewed a copy of the conditions of probation with Mr. Brown, as outlined in the judgment
                  and sentence. He signed a copy acknowledging the requirements.

                  On June 2, 2021, this officer spoke with the offender’s treatment provider at SPARC who
                  informed this officer Mr. Brown had failed to report for group substance abuse treatment on
                  May 20, 21, 24, 26, and 27, 2021, as scheduled.
          3       Special Condition #5: You must abstain from the use of illegal controlled substances, and
                  must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                  no more than 6 tests per month, in order to confirm continued abstinence from these
                  substances.

                  Supporting Evidence: On May 31, 2021, James Brown allegedly violated special condition
                  number 5 by consuming methamphetamine.

                  On October 23, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                  reviewed a copy of the conditions of probation with Mr. Brown, as outlined in the judgment
                  and sentence. He signed a copy acknowledging the requirements.

                  On June 7, 2021, the undersigned officer received notification from the residential reentry
                  center (RRC) that Mr. Brown submitted to random urinalysis testing and provided a urine
                  sample that tested presumptive positive for methamphetamine on May 31, 2021. According
                  to the information received, the urine sample provided by Mr. Brown on that date was
                  subsequently confirmed by a lab to be positive for amphetamine and methamphetamine on
                  June 7, 2021.
          4       Special Condition #8: You must reside in a residential reentry center (RRC) for a period
                  up to 180 days at the direction of the supervising officer. Your participation in the programs
                  offered by the RRC is limited to employment, education, treatment, and religious services
                  at the direction of the supervising officer. The defendant shall abide by the rules and
                  requirements of the facility.
        Case 2:20-cr-00024-SAB        ECF No. 234        filed 06/08/21      PageID.738 Page 3 of 3
Prob12C
Re: Brown, James Thomas
June 7, 2021
Page 3

                      Supporting Evidence: On June 7, 2021, James Brown allegedly violated special condition
                      number 8 by being unsuccessfully discharged from the RRC.

                      On October 23, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                      reviewed a copy of the conditions of probation with Mr. Brown, as outlined in the judgment
                      and sentence. He signed a copy acknowledging the requirements.

                      On June 7, 2021, this officer was informed by RRC staff that the offender would be
                      unsuccessfully discharged from the program. The undersigned officer was informed that
                      because the Bureau of Prisons (BOP) has a zero tolerance policy for drug use at the RRC,
                      the offender would need to be unsuccessfully discharged.

The U.S. Probation Office respectfully recommends the Court issue a warrant requiring the offender to appear to
answer to the allegation(s) contained in this petition.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     06/07/2021
                                                                           s/Amber M.K. Andrade
                                                                           Amber M.K. Andrade
                                                                           U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ x]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                           Signature of Judicial Officer

                                                                                6/8/2021
                                                                           Date
